
66 So.3d 409 (2011)
CCB, LLC, Charles B. Barniv, Cynthia Barniv, and Bruce G. Witkind, Appellants,
v.
BANKTRUST, An Alabama Banking Corporation, Appellee.
No. 1D11-2375.
District Court of Appeal of Florida, First District.
August 4, 2011.
Karen L. Arnett and Jane E. Kerrigan of Arnett &amp; Kerrigan, P.L., Miramar Beach, for Appellants.
C. Jeffrey McInnis of Anchors Smith Grimsley, PLC, Fort Walton Beach; George M. Walker and Paul T. Beckmann of Hand Arendall LLC, Mobile, Alabama, for Appellee.
PER CURIAM.
DISMISSED. See Conti v. B &amp; E Holdings, LLC, 61 So.3d 1272 (Fla. 1st DCA 2011). In light of the dismissal, the Emergency Motion to Stay Appeal and Remand to the Trial Court, filed on May 5, 2011, is denied as moot.
VAN NORTWICK, PADOVANO, and HAWKES, JJ., concur.
